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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

 

 

 

 

UNITED STATES OF AMERICA, CASE NUMBER:
CR 07-1049-VBF
PLAINTIFF(S}
y.
CHARLES LEROY TWYMAN, et al. NOTICE OF MANUAL FILING
DEFENDANT(8).
PLEASE TAKE NOTICE:

The above-mentioned cause of action has been designated as an electronically filed case. In accordance
with General Order 08-02 and Local Rule 5-4 the following document(s) or item(s) will be manually filed.

List Documents:

Plea Agreement for Defendant Charles Leroy Twyman; Government's Ex Parte Application for an Order
Sealing Document; [Proposed] Order Sealing Documents

Document Description:

0 Administrative Record

O Exhibits

O Ex Parte Application for authorization of investigative, expert or other services pursuant to the
Criminal Justice Act (pursuant to Local Rule 79-5.4(h)

wf Other

Reason:

wi Under Seal
Items not conducive to e-filing (i.c., videotapes, CDROM, large graphic charts)

Per Court order dated

 

oO
O Electronic versions are not available to filer
oO
O

Manual Filing required (reason):

 

 

 

October 19, 2009 JOHN J LULEJIAN

Date Attorney Name
UNITED STATES OF AMERICA
Party Represented

Note: File one Notice in each case, each time you manually file document(s).

G-92 (02/08) NOTICE OF MANUAL FILING

 
